                                                                                               ~I..
                                                           4u6                                        12D
                 IN THE UNITED STATES DISTRICT COURT sJftt:1-!,fa 'S lo;1
                                                                                         /y_   0

            FOR THE EASTERN DISTRICT OF NORTH CAROLINA                                             x r tl~ly_
                                                                                                    o~gAtc'lf
                                     EASTERN DIVISION                                                    cl1r
                       Civil Action Number 4:24-CV-00051-M-RN


Cynthia B. Avens                                   )
                                                   )
   (Plaintiff)                                     )     PLAINTIFF'S RESPONSE IN
                                                   )     OPPOSITION TO ECU
                                                   )     HEALTH MOTION TO
Faris C. Dixon , Jr., District Attorney            )     DISMISS FOR FAILURE TO
Pitt County Memorial Hospital , Inc.               )     TO STATE A CLAIM DE 49 & 50
Dr. Karen Kelly, Medical Examiner                  )
John/Jane Doe                                      )
John/Jane Doe                                      )
John/Jane Doe                                      )
    (Defendants)                                   )




                                I.        INTRODUCTION



Plaintiff, Cynth ia Avens , respectfully submits th is response to Defendant ECU Health's

Motion to Dism iss the Amended Complaint. This case arises from the tragic death of

Plaintiff's daughter, Keisha Marie White, and the subsequent alleged misconduct by

ECU Health and other defendants in obstructing justice and violating Plaintiff's civil

rights .




                                               1


   Case 4:24-cv-00051-M-RN            Document 57      Filed 08/05/24   Page 1 of 61
                              11.    STANDARD OF REVIEW



FEDERAL RULE OF CIVIL PROCEDURE (FRCP) RULE 12(b)(6):

A motion to dismiss under Rule 12(b)(6) tests the sufficiency of the complaint. The court

must accept all well-pleaded factual allegations as true and draw all reasonable

inferences in favor of the plaintiff. To survive a Rule 12(b)(6) motion , a complaint must

state a claim to relief that is plausible on its face. See Ashcroft v. Iqbal, 556 U.S. 662 ,

678 (2009) .



FRCP 8(a)(2):

Under Federal Rule of Civil Procedure (FRCP) 8(a)(2) , a complaint must contain a

"short and plain statement of the claim showing that the pleader is entitled to relief."

"While Rule 8 does not require detailed factual allegations, a properly pied claim must

contain enough facts to 'state a claim to relief that is plausible on its face .'.. ." See United

States v. U.S. Telecom Long Distance, Inc., Case No.: 2:17-cv-02917-JAD-NJK (D. Nev.

Sep 24 , 2018)



The plausibility standard requires more than a sheer possibility that a defendant has

acted unlawfully. It does not impose a "probability requirement," but a claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged . See

Twombly, 550 U.S. at 556; Iqbal, 129 S. Ct. at 1937. A court must draw on its judicial

experience and common sense to determine whether the pleader has stated a plausible



                                                2


   Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24      Page 2 of 61
claim for relief. See Iqbal, 129 S. Ct. at 1937; Mosely-Sutton v. Macfadyen , Civil Action

No. ROB 10-1130 (D. Md . Jun 17, 2010) .



The court must accept the well-pied allegations of the complaint as true and construe

the facts and reasonable inferences derived therefrom in the light most favorable to the

plaintiff. See Ibarra v. United States, 120 F.3d 472 , 474 (4th Cir. 1997); Monbo v. Upper

Chesapeake Med. Ctr., Inc., Civil Action CCB-21-4, CCB-20-3403 (D. Md. Aug 23 ,

2021) .



FAILURE TO STATE A CLAIM:

The Supreme Court in Conley v. Gibson, 355 U.S. 41 , 78 S.Ct. 99 , 102, 2 L.Ed .2d 80

(1957), established that "In appraising the sufficiency of the complaint we follow ... the

accepted rule that a complaint should not be dismissed for fa ilure to state a claim unless

it appears beyond a doubt that a plaintiff can prove no set of facts in support of his claim

which would entitle him to relief." This principle was further affirmed in Ryland v.

Shapiro, 708 F.2d 967 (5th Cir. 1983).



FRAUDULENT SETTLEMENT AGREEMENT:

In Fuku-Bonsai, Inc. v. E.I. du Pont de Nemours & Co., 187 F.3d 1031 (9th Cir. 1999),

the court held that a settlement agreement is not enforceable if it was fraudulently

induced . The court stated that fraudulent actions and a lack of good faith negotiations

undermined the plaintiffs' ability to bargain freely for a fair settlement, thereby nullifying

the agreement.



                                               3


   Case 4:24-cv-00051-M-RN           Document 57       Filed 08/05/24      Page 3 of 61
CONTINUED WRONG DOCTRINE:

"Under the continuing wrong doctrine , the statute of limitations does not start running

'until the violative act ceases."' Marzec v. Nye , 203 N.C.App. 88 , 94 , 690 S.E.2d 537 ,

542 (2010) (quoting Babb v. Graham, 190 N.C.App. 463, 481 , 660 S.E.2d 626, 637

(2008)). In order for the continuing wrong doctrine to toll the statute of limitations, the

plaintiff must allege "[a] continuing violation" by the defendant that "is occasioned by

continual unlawful acts, not by continual ill effects from an original violation ." Id.

(alteration in orig inal) (citations and quotation marks omitted) ." Carpenter v. N.C. Oep 't

of Health & Human Servs. - Office of the Chief Med. Exam 'r, COA22-170 (N.C . App .

Feb 07, 2023) .



42 u.s.c. 1983:

  I.   "A plaintiff may bring a Section 1983 claim alleging that public officials, acting in

       their official capacity, took action with the intent to reta liate against, obstruct, or

       chill the plaintiff's First Amendment rights." Arizona Students' Assoc. v. Arizona

       Bd. of Regents, 824 F.3d 858 , 867 (9th Cir. 2016). To prove retaliation in violation

       of the First Amendment, a plaintiff must show:

       (1) [that] he engaged in constitutionally protected activity;

       (2) as a result, he was subjected to adverse action by the defendant that would

       chill a person of ordinary firmness from continuing to engage in the protected

       activity; and

       (3) there was a substantial causal relationship between the constitutionally

       protected activity and the adverse action .



                                                4


   Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24      Page 4 of 61
       Blair v. Bethel Sch. Dist., 608 F.3d 540 , 543 (9th Cir. 2010) . "To rise to a

       constitutional violation , the defendant's adverse action 'must be of a nature that

       would stifle someone from speaking out. "' Id. at 544 . Derby v. City of Pittsburg,

       Case No. 16-cv-05469-SI (N.D. Cal. Feb 23 , 2017) .



 II.   "'[P]rivate activity will generally not be deemed "state action" unless the state has

       so dominated such activity as to convert it to state action : "Mere approval of or

       acquiescence in the initiatives of a private party" is insufficient."' Wahi, 562 F.3d

       at 616 (quoting DeBauche v. Trani, 191 F.3d 499 , 507 (4th Cir.1999)) . Philips v.

       Pitt County Memorial Hosp ., 572 F.3d 176 (4th Cir. 2009) .



STATE ACTOR REQUIREMENTS:

A state becomes responsible for a private party's act if the private party acts (1) in an

exclusively state capacity, (2) for the state's direct benefit, or (3) at the state's specific

behest. It acts in an exclusively state capacity when it "exercises powers traditionally

exclusively reserved to the state(,)" 419 U.S. 352 , 95 S.Ct. 454 ; for the state's direct

benefit when it shares the rewards and responsibilities of a private venture with the

state, see id., 357-58 , 95 S.Ct. 456-57 , Burton v. Wilmington Parking Authority, 365 U.S.

715, 723-24 , 81 S.Ct. 856, 860-61 , 6 L.Ed.2d 45 (1961 ); and at the state's specific

behest when it does a particular act which the state has directed or encouraged . See

419 U.S. 354, 357 , 95 S.Ct. 455 , 456. Modaber v. Culpeper Memorial Hospital, Inc., 674

F.2d 1023 (4th Cir. 1982).




                                                5


   Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24      Page 5 of 61
As stated in Philips v. Pitt County Memorial Hosp ., 572 F3d 176 (4th Cir. 2009) :

•   "'[t]he judicial obligation is .. . to assure that constitutional standards are invoked

    ' when it can be said that the State is responsible for the specific conduct of which

    the plaintiff complains ... ." Id. at 295, 121 S.Ct. 924 (citation omitted) (emphasis in

    part original and added) ."

•   Commentators and appellate courts , including our own , have attempted to

    categorize situations that justify the state-action label. See , e.g. , Moore, 560 F.3d at

    179 (noting "a private entity's action can constitute state action if '"there is a

    sufficiently close nexus between the State and the challenged action of the regulated

    entity that the action of the latter may fairly be treated as that of the State itself,"' but

    'state involvement without state responsibility cannot establish this

    nexus"')(emphasis added) (citation omitted); OeBauche, 191 F.3d at 507.



POLICY OR CUSTOM:

A§ 1983 claim against a private entity must satisfy Monell v. Department of Social

Services, 436 U.S. 658 (1978). Under Monell, a plaintiff may establish a claim for relief

only if the constitutional violation was caused by: (1) an express municipal policy; (2) a

widespread , though unwritten, custom or practice; or (3) a decision by a municipal agent

with final policymaking authority. Stewart, 14 F.4th at 765 . Popp v. Copeland, 21-C-1305

(E.D. Wis. Mar 29, 2022) .




                                                6


    Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24      Page 6 of 61
42 u.s.c. 1981:

All persons within the jurisdiction of the United States shall have the same right in every

State and Territory to make and enforce contracts , to sue , be parties, give evidence,

and to the full and equal benefit of all laws and proceedings for the security of persons

and property as is enjoyed by white citizens, and shall be subject to like punishment,

pains , penalties , taxes , licenses , and exactions of every kind , and to no other. 42

U.S.C.A. § 1981 . Walker v. City of Coatesville, CIVIL ACTION No. 14-853 (E.D. Pa . Nov

26 , 2014) .



"In order to state a claim under§ 1981 , a plaintiff must allege facts in support of the

following elements : (1) [that plaintiff] is a member of a racial minority; (2) intent to

discriminate on the basis of race by the defendant; and (3) discrimination concerning

one or more of the activities enumerated in the statute .... " Brown v. Philip Morris Inc.,

250 F.3d 789 , 797 (3d Cir. 2001) . Farrar v. McNesby, CIVIL ACTION No. 13-5683 (E.D .

Pa . Mar 24, 2015).



42 u.s.c. 1985:

Section 1985(3) proscribes..conspiracies to "deprive[] . . . any person or class of persons

of the equal protection of the laws, or of equal privileges and immunities under the laws

... ." 42 U.S.C. § 1985(3). "A mere general allegation ... [or] averment of conspiracy or

collusion without alleging the facts which constituted such conspiracy or collusion is a

conclusion of law and is insufficient [to state a claim] ." Young v. Kann , 926 F.2d 1396,




                                                7


   Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24      Page 7 of 61
1405 n. 16 (3d Cir. 1991). Farrarv. McNesby, CIVILACTION No. 13-5683 (E.D . Pa. Mar

24 , 2015).



To maintain a cause of action for conspiracy under 42 U.S.C. § 1985(3), a plaintiff must

establish the following four elements:

(1) a conspiracy involving two or more persons;

(2) for the purpose of depriving , directly or indirectly, a person or class of persons of the

equal protection of the laws;

(3) an act in furtherance of the conspiracy;

(4) which causes injury to a person or property, or a deprivation of any right or privilege

of a citizen of the United States.

See Collyer v. Darling, 98 F.3d 211 , 233 (6th Cir. 1996) (citing Johnson v. Hills & Dales

Gen. Hosp ., 40 F.3d 837 , 839 (6th Cir. 1994)); Smith v. Thornburg , 136 F.3d 1070, 1078

(6th Cir. 1998).



The plaintiff further must demonstrate that the conspiracy was motivated by a class

based animus, such as race. Radvansky v. City of Olmsted Falls, 395 F.3d 291 , 314

(6th Cir. 2005) ; Collyer, 98 F.3d at 233; Johnson , 40 F.3d at 839; Seguin v. City of

Sterling Heights, 968 F.2d 584, 590 (6th Cir. 1992). Cade v. Puffenberger, Case No.

1:16-cv-714 (W.D. Mich . Jul 12, 2016) .




                                               8


   Case 4:24-cv-00051-M-RN           Document 57      Filed 08/05/24      Page 8 of 61
INVIDIOUS DISCRIMINATORY ANIMUS:

Invidious discrimination is defined as, "[a]ny distinction drawn in a population for

inappropriate reasons. Invidious discrimination is the creation or perpetuation of a

burden on one individual or group, particularly if the motivation for the creation of that

burden is ill-will toward the individual or group or a desire to harm one for the benefit of

another. "



When the law lays an unequal hand on those who have committed intrinsically the same

quality of offense and sterilizes one and not the other, it has made as an invidious

discrimination as if it had selected a particular race or nationality for oppressive

treatment. Skinnerv. Oklahoma ex rel. Williamson , 316 U.S. 535, 541 (1942) (Douglas,

J.). INVIDIOUS DISCRIMINATION (Bouvier Law Dictionary (2012 Edition)) .



NEGLIGENCE PER SE:

"Under traditional principles of tort law, '[t]he unexcused violation of a legislative

enactment or an administrative regulation which is adopted by the court as defining the

standard of conduct of a reasonable man, is negligence in itself,' or in more common

usage, negligence per se ." Ries v. National R.R. Passenger Corp., 960 F.2d 1156 (3rd

Cir. 1992).



PRIMA FACIE :

"It has held that, even after Iqbal, the plaintiff is not required to satisfy the prima facie

burden at the motion to dismiss stage. Rodriguez-Reyes v. Molina-Rodriguez, 711 F.3d



                                                9


   Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24     Page 9 of 61
49, 54 (1st Cir. 2013); Garayalde-Rijos , 747 F.3d at 24 ." Corson v. Modula, Inc. , CIVIL

NO. 2:20-CV-104-DBH (D. Me. Jul 21 , 2020).



                                 Ill.    CLARIFICATIONS



WRONGFUL DEATH SETTLEMENT

A. FRAUD AND COERCION: Counsel for the Defendant acknowledges that the 2016

    wrongful death settlement with ECU Health "released all claims related to the

    medical services that White [Keisha Marie White , Plaintiff's daughter] received " (DE

    50 p. 2 ,I 1); emphasis on "claims related to the medical services ." Counsel

    incorrectly asserts that the Plaintiff still seeks to hold ECU Health liable for White's

    death. This is a mischaracterization . The Plaintiff has not filed a wrongful death case

    or a medical malpractice case with the U.S. District Court. The Plaintiff has also not

    alleged any violations of White's civil rights related to her medical care. This case

    concerns the repeated violations of the Plaintiff's civil rights by the defendants,

     including ECU Health, over the past decade.



    The 2016 wrongful death settlement does not preclude the Plaintiff from filing claims

     related to events that occurred after White's death, 1 just as Counsel has pointed out

    that the agreement specifically focused on White's medical treatment up to and




1
  See Exhibit 12: Settlement and Release. The copy provided is the unsigned
document. The Plaintiff is having difficulty locating the signed document but will attempt
to provide it during Discovery. However, the Defendant does have a signed copy and
can compare the two for confirmation .
                                              10


    Case 4:24-cv-00051-M-RN         Document 57       Filed 08/05/24     Page 10 of 61
including, May 10, 2014. Signing that agreement did not provide ECU Health with

blanket protection for illegal and violative conduct subsequent to White's death .



Moreover, the mediated settlement on March 1, 2016, occurred despite the North

Carolina Board of Nursing (BON) report revealing critical information that was not

disclosed to the Plaintiff before the settlement. ECU Health , through its internal

investigation , was aware or should have been aware details that had not been

disclosed to the Plaintiff sooner, such as:

•   There were only two forms of treatment identified for White's hypoxia; restraints

    and sedating medication .

•   The primary nurse, Linda Brixon (Brixon) failed to release restraints and failed to

    initiate CPR during a code blue .

•   Due to the side effects of opioid medication , Brixon was required to, but failed to

    assess White for side effects before and during the shift, in particularly due to the

    drug's ability to cause symptoms that causes difficulty differentiating between a

    resting patient and a dying patient.

 ECU Health's failure to disclose this and other information unknown to the Plaintiff,

 prior or during negotiations of a wrongful death settlement, constitutes fraud and a

breach of fiduciary duty, nullifying the settlement agreement.



 Furthermore, the Plaintiff was coerced into the settlement with threats that unrelated

 healthcare information would be used against her if the case went to tria l, thereby

 creating an environment of duress. Although this information was not related to



                                           11


Case 4:24-cv-00051-M-RN         Document 57      Filed 08/05/24     Page 11 of 61
  White's cause of death , Plaintiff's wrongful death attorneys failed to address the

  Defendant's coercion . Instead , they informed her that North Carolina law allows a

  defendant to avoid liability if they can convince a jury that the victim was even one

  percent responsible for their outcome, further pressuring the Plaintiff to settle instead

  of going to trial. Given these circumstances, the settlement agreement is invalid.



  These factors combined -     the critical nondisclosures and the coercion -     render the

  settlement agreement legally invalid , as per the precedents set in Fuku-Bonsai, Inc.

  v. E.I. du Pont de Nemours & Co., where agreements induced by fraudulent means

  are not enforceable.



B. SETTLEMENT CONSIDERATIONS: In addressing the observations made in the

  defendant's memorandum supporting their motion to dismiss, Counsel notes

  Plaintiff's silence in the amended complaint about the amount received (DE 50 p. 5

  Footnote 5). It is imperative to underscore that the settlement amount is completely

  irrelevant to the current legal proceedings. The focus of this case is on the alleged

  continuous violations of civil rights , which are entirely distinct from any past

  monetary settlements regarding wrongful death claims .



  Moreover, the emphasis on the 'consideration' received as part of the wrongful death

  settlement by the Defendant's counsel raises significant concerns about their

  motives. This focus appears to be a strategic diversion rather than a substantive

   legal argument, suggesting an attempt to mislead or influence the court's perception



                                             12


 Case 4:24-cv-00051-M-RN          Document 57       Filed 08/05/24      Page 12 of 61
   of the plaintiff's motivations or the merits of the case. Even if the settlement

   agreement was considered binding and relevant, the specific monetary figure

   resolved upon would remain immaterial to the violations of civil rights being

   contested. Such arguments presented by the defense do not detract from the

   legitimacy and severity of the ongoing claims and should not influence the court's

   evaluation of the merits of those claims.



C. MISSING EXHIBIT: As referenced by the defense (DE 50 p. 6 ,I 1), documents

   integral to or referenced in the complaint are considered in a motion to dismiss and

   should govern over conflicting allegations, per Goines v. Valley Community Services

   Board, 822 F.3d 159, 166 (4th Cir. 2016) . It is notable that counsel , representing a

   prestigious law firm such as K&L Gates, bases a significant portion of their dismissal

   argument on the settlement agreement's scope-yet notably fails to provide this key

   document as an exhibit. This omission not only undermines the credibility of their

   argument but also raises questions about the transparency and completeness of the

   evidence they present.



   Furthermore, the Defendant's acknowledgment of the settlement agreement without

   providing it in full for court review suggests a strategic avoidance , possibly due to the

   document not supporting their assertions as strongly as claimed . This tactic could

   mislead the court regarding the enforceability of the agreement concerning the

   plaintiffs ongoing claims .




                                               13


  Case 4:24-cv-00051-M-RN         Document 57        Filed 08/05/24     Page 13 of 61
     Counsel correctly identifies the document, as opposed to identifying it as a

     "nondisclosure agreement," for example, confirming that he has read the agreement,

     has a copy of the agreement, or both . Therefore, Counsel should be aware that the

     agreement does not preclude non-healthcare claims post-May 10, 2014.2 Therefore ,

     if the court deems the settlement agreement relevant , it should note that its terms do

     not support the defense's motion to dismiss and that thei r reliance on it in this

     context is misplaced .



BASIS FOR OBSTRUCTION AND CONSPIRACY CLAIMS :

Counsel for the Defendant addressed the Plaintiff's compla int, asserting that the

Plaintiff's primary concern was White's medical care received at ECU Health. (DE 50 p.

3 ,I 3). For clarification , the Plaintiff explained in detail the ca re Wh ite received

because of the nature of claims she made against ECU Health and the other

defendants, in particularly obstructions of justice and conspiracy that resulted in

violations of the Plaintiff's civil rights . These medical details are crucial as they directly

support the allegations of obstruction of justice. The defendants and others controlled

the improper narrative for a decade that a crime had not taken place in the death of

White, despite evidence of the contrary. Additionally, telling the Court what happened to

White and provid ing evidence supporting crimina l activity, the Plaintiff potentially

prevented the defendants from claiming that there was no crim inal conduct related to

White's death , possibly asserting to the Court that there could be no obstruction of

justice.



2
    See Exhibit 12.
                                                14


    Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24      Page 14 of 61
In the original pleading filed on March 22 , 2024 (DE 1), it was alleged that Nurse Linda

Brixon's treatment of Keisha White was motivated by racial bias, amounting to a hate

crime. Although this specific allegation was not included in the subsequent amended

pleading (DE 33) , the underlying concerns about racial discrimination remain pertinent.

This shift in focus does not negate the evidence suggestive of racial animus, nor does it

diminish the relevance of these concerns to the overall allegations of civi l rights

violations.



Notably, while the amended pleading does not explicitly state that Brixon's actions were

motivated by racial discrimination , the pattern of her behavior provides a compelling

implication of such. The detailed accounts demonstrate that Brixon's white patients , who

were situated in the same unit requiring similar cardiac monitoring and care, did not

suffer from the same neglect and malpractice. This discrepancy is evident from the

absence of similar complaints or disciplinary actions concerning Brixon's treatment of

white patients, as per records and co-worker statements .



This selective negligence-exclusively affecting Keisha White, a black patient, duri ng a

single shift-raises serious questions about the motives behind Brixon's actions . The

lack of similar issues with other patients under her care strongly suggests a

discriminatory practice was at play. Given that no further disciplinary actions were

reported by the North Carolina Board of Nursing (BON) regarding other patients, we can

infer that Brixon provided adequate care to patients who were not of the same racial

background as Keisha . Such differential treatment, supported by Brixon's ability to



                                              15


  Case 4:24-cv-00051-M-RN          Document 57       Filed 08/05/24     Page 15 of 61
competently care for other patients, underlines a deliberate deviation from standard

medical practices influenced by racial bias.



Clarification of SBI Jurisdiction and ECU Health's Reporting Actions:

In addressing the mischaracterization by Counsel in footnote 4 of DE 50 , p. 5, it is

critical to clarify the nature of the SB l's involvement as asserted by the Plaintiff. Contrary

to Counsel 's claims, the Plaintiff did not erroneously suggest that the SBI lacked legal

authority or jurisdiction to investigate Keisha White's death . It is clearly stated, despite

attempts by Counsel to obfuscate the facts, that ECU Health directly involved the SBI

rather than local law enforcement (DE 33 pp . 18, 20-21     ,m 77, 83, 85 , 86) .

ECU Health's decision to involve the SBI directly, bypassing local law enforcement, is a

critical point of contention. Under North Carolina policy, the SBI does not initiate

investigations reported directly by entities like ECU Health unless these cases fall within

their direct, predefined jurisdictional mandate. Such matters are intended to be first

reported to local law enforcement or the district attorney, who can then request SBI

involvement if deemed necessary. This standard procedure ensures that the appropriate

local authority assesses whether a broader state-level investigation is warranted .

The approach taken by ECU Health raises questions about their intent and the

appropriateness of their actions in handling the reporting of White's death. By

circumventing usual protocols and maintaining direct communications with the SBI ,

ECU Health's actions cou ld be seen as an attempt to control the investigative process,

potentially limiting the scope and depth of the inquiry. Counsel's labeling of the Plaintiff's



                                               16


  Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24     Page 16 of 61
complaint as 'convoluted' and 'unclear' appears to be a strategic attempt to divert

attention from these procedural irregularities and to downplay the significance of how

ECU Health managed the reporting process.



Furthermore, Attorney Daniel Mcclurg , operating in Charlotte, North Carolina and being

well-versed in North Carolina's legal framework, ought to recognize the implications of

this deviation from standard reporting protocols. The fact that similar policies exist in

Tennessee, where Attorney Terrence McKelvey operates, reinforces the standard nature

of these procedures. The Plaintiff's allegations are grounded in a clear understanding of

these legal processes, and they precisely highlight concerns over potential misuse of

the investigative framework by ECU Health to manipulate or constrain the investigative

outcome.

                                    IV.    ARGUMENT


CONTINUING WRONG DOCTRINE:

Defendant argues that all of Plaintiff's claims are time-barred by the applicable statutes

of limitations. This argument overlooks the critical applicability of the continuing violation

doctrine, which recognizes that claims may be brought for actions that are part of an

ongoing pattern of misconduct. Under this doctrine, a plaintiff may challenge not just the

most recent instance of misconduct, but also earlier related acts, provided they are part

of the same continuous pattern .



In Perry v. Pamlico County, 88 F. Supp. 3d 518 (E.D.N.C. Feb . 18, 2015) , the court

clarified , "Under North Carolina law, a continuing violation is occasioned for limitations

                                              17


  Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24     Page 17 of 61
purposes by continual unlawful acts , not by continual ill effects from an original

violation. " This principle is further supported in Godbold by & through Holloway v.

Cherokee Cnty. , No. 1:20 CV 202 MR WCM , 2021 WL 1590387, at *3 (W.D.N .C. Jan .

14, 202 1), where it was reaffirmed that the continuing-wrong doctrine serves as an

exception to the general rule that a state-law claim accrues when the right to maintain a

suit arises. Add itionally, North Carolina recognized this 'continuing wrong ' or 'continuing

violation' doctrine as an exception to the general rule in Williams v. Blue Cross Blue

Shield of N.C., 357 N.C. 170, 179 (2003) .



ECU Health's actions exemplify this doctrine. The organization maintained a pattern of

illegal conduct, including obstructing justice and violating the Plaintiff's civil rights , which

persisted at least through 2016. Notably, in 2022 , when ECU Health interfered with the

operations of the Pitt County medical examiner's (ME) office-located in its partly

owned Brody School of Medicine-it effectively restarted the statute of limitations clock.

This interference is a clear continuation of ECU Health's pattern of misconduct, allowing

the Plaintiff to consolidate all related conduct from 2014 through 2023 into a single

cla im, as permitted by the continuing wrong doctrine.



FRAUDULENTCONCEALMEN~
As the Defendant argues that all of Plaintiff's claims are time-barred by the applicable

statutes of limitations, Counsel failed to account for the doctrine of fraudulent

concea lment. On May 30, 2024, Plaintiff learned from former SBI Agent Jennifer

Matherly (Matherly) that ECU Health obstructed the joint investigation by the SBI and



                                               18


  Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24      Page 18 of 61
GPO , which began in November 2014 under former GPO Chief Hassan Aden (Aden).

This new revelation highlights that ECU Health intentionally failed to make key

personnel available, critically undermining the investigation's credibility and

thoroughness.



Under the Commission on Accred itation for Law Enforcement Agencies (CALEA)

Standards, which govern both the GPO and the SBI , law enforcement is required to

conduct thorough preliminary and follow-up investigations, which include locating and

interviewing key witnesses and personnel. 3 The failure of ECU Health to cooperate , and

the fa ilure of law enforcement to enforce cooperation , points to a deliberate attempt to

protect ECU Health and obfuscate the truth surrounding the circumstances of White's

death.



The intentional non-disclosure by ECU Health , coupled with the lack of investigative

rigor by GPO , SBI , and the district attorneys involved , constitutes fraudulent

concealment. This misconduct misled the Plaintiff about the investigation's progress and

findings , directly impacting her ability to seek timely justice. The concealment of these

critical facts meets the criteria for toll ing the statute of limitations as outlined in key

precedents:

•     In Muller v. Thaut, the court held that concealing a material fact which causes the

     opposite party to delay filing suit allows for the tolling of the statute of limitations

     (Muller v. Thaut, 230 Neb. 244, 430 N.W.2d 884 (Neb. 1988)).



3
    See Exhibit 13: CALEA Standards

                                                19


    Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24      Page 19 of 61
•   Similarly, Bailey v. Glover supports that the statute of limitations does not begin to

    run until the fraud is discovered by the party harmed by the fraud , especially when

    the plaintiff remains ignorant of the fraud without any fault or lack of diligence on

    their part (Bailey v. Glover, 21 Wall . 342, 348, 22 L.Ed . 636) .

Given these principles and the actions of ECU Health and law enforcement, there is a

clear basis for applying the doctrine of fraudulent concealment to toll the statute of

limitations in this case. The deliberate failure to disclose non-cooperation in the

investigation constitutes intentional deception aimed at protecting ECU Health from

legal repercussions, thus justifying the tolling of the statute of limitations based on the

ongoing concealment of critical information necessary for the accrual of Plaintiffs

claims.



CONCRETE FACTUAL ALLEGATIONS:

Counsel for the Defendant asserts that the Plaintiff failed to allege any "concrete factual

allegations regarding acts or omissions by ECU Health within the limitations period" (DE

50 p. 8 ,r 2) . However, at the plead ing stage, according to FRCP Rule 8(a)(2) , all factual

assertions made by the Plaintiff are presumed true, requiring only a "short and plain

statement of the claim." The necessity to establish a prima facie case does not apply at

this preliminary stage.



Despite this, arguendo, the Plaintiff did present substantial evidence, notably through

the transcript of a recorded conversation with Danene Lowery (Lowery) on April 10,

2023 (Exhibit 9 pp . 13-17). In this conversation , Lowery disclosed that Dr. Kelly's



                                               20


    Case 4:24-cv-00051-M-RN          Document 57       Filed 08/05/24    Page 20 of 61
involvement in White's investigation was contingent on approval from ECU Health,

illustrating a clear overreach of authority and interference in the independent functions

of the Med ical Examiner's office .



This directive from ECU Health is supported by multiple instances of interference:

•   In September 2022 , when the Medical Examiner's office redi rected the Plaintiff to

    speak with risk management instead of provid ing information directly, this was a

    direct consequence of directives issued by and/or adhered to by ECU Health,

    especially since such diversions began after it was discovered through the ME's

    office that Dixon had lied about possessing an ME report.

•   Subsequent interactions in October 2022 and March 2023 consistently redirected

    the Plaintiff to risk management, reinforcing the pattern of interference and control

    exercised by ECU Health.

•   Lowery's admissions in March and April 2023 that she was instructed not to

    commu nicate directly with the Plaintiff further corroborate ECU Health 's influence

    over the ME's office operations .

This pattern of behavior logically points to ECU Health as the entity with both motive

and opportunity to influence the ME's office, particularly in light of their vested interest in

the outcomes of investigations linked to their operations. The lack of involvement from

other possible entities like East Carolina University or state officials further narrows the

logical source of these directives to ECU Health .




                                              21


    Case 4:24-cv-00051-M-RN           Document 57     Filed 08/05/24      Page 21 of 61
Moreover, even assuming ECU Health did not explicitly issue these directives, the

necessity for Kelly to seek permission from ECU Health's risk management and

attorneys before proceeding with her duties as a med ical examiner starkly illustrates the

undue influence and control exerted by ECU Health over a state function , attributing

liability and responsibility to them for any resultant obstructions or misconduct.



During discovery, the Plaintiff aims to uncover further evidence pinpointing the specific

individuals with in ECU Health responsible for these directives and the systematic denial

of information , pursuant to FRCP Rule 26. Th is right to discovery is protected unless it is

shown beyond doubt that no set of facts could support the Plaintiff's cla im, as affirmed

in Conley v. Gibson, 355 U.S. 41 (1957).



MISCHARACTERIZATION AND OBSTRUCTION IN SBI INVESTIGATIONS:

Erroneous Assertions And The Reality Of SBI Involvement:

Counsel for the Defendant erroneously asserts that ECU Health cooperated with SBI

investigations (DE 50 p. 8 ,I 3). Contrary to these claims, the Plaintiff provides

compelling evidence of non-cooperation and deceptive practices surrounding the SBI

investigations into White's death.



The Fake SBI Investigations Explained

•    First Fake Investigation (May-August 2014):

    Vicki Haddock (Haddock) , ECU Health's risk manager, falsely claimed the necessity

    to report White's death directly to the S8I , contradicting policies that require

     reporting to local law enforcement first. This misdirection was facilitated by S8I

                                              22


    Case 4:24-cv-00051-M-RN          Document 57      Filed 08/05/24      Page 22 of 61
    agents Joe , Donnie, and Anthony, with whom Haddock had inappropriate

    connections. The interactions between Haddock and these agents , none of whom

    conducted any investigative activities, point to a concerted effort to obstruct justice.

    The double-faceted effort created an illusion that Haddock followed proper reporting

    protocol, while attempting to conceal the agents' complicit involvement in obstructing

    justice and conspiracy. The activity between Haddock and the SBI agents, referred

    to as an "investigation" by the Defendant's counsel , was never an investigation as

    ind icated by the agents:

           o   lying to the Plaintiff, asserting they had no communications with Haddock;

           o   denying any knowledge of White;

           o denying any knowledge of an investigation of White's death ;

           o relaying information from the Plaintiff to Haddock;

           o failure to adhere to GALEA regulations of locating and interviewing

               witnesses and suspects, if anyone could assume that anything resembling

               an investigation took place .

•   Second Fake Investigation (Pre-September 13, 2014) :

    Alleged by former GPO Chief Hassan Aden in communications with the Plaintiff, this

    investigation was purportedly conducted without any engagement with the Plaintiff, a

    key witness. (See Exhibit 6 p. 5.) Th is previously undisclosed investigation, never

    acknowledged by the DA in his communications with the Plaintiff, served to cause

    further confusion and delay.




                                               23


    Case 4:24-cv-00051-M-RN         Document 57       Filed 08/05/24     Page 23 of 61
•    Investigation Post-November 7, 2014 :

     Despite formal announcements (See Exhibit 6 p. 8) , this investigation , initiated by

    Aden with former SBI Agent Jennifer Matherly and GPO Detective Alvaro Elias

     assigned to lead , failed to meet the basic investigative standards mandated by

     CALEA. The absence of interviews with crucial witnesses , including the Plaintiff and

     relevant hospital personnel, whom the Defendant fa iled to make available for

     interview, rendered this investigation superficial. The investigative report produced

     by this process was uncritically accepted by the DA's office , leading to unfounded

     cla ims that a complete and thorough investigation had been conducted , wh ich

     concluded erroneously that no crime occurred in the death of White .



These so-called investigations illustrate not only a failure on the part of ECU Health to

adhere to lawful procedures but also a systemic failure among local law enforcement

and the DA's office to enforce proper investigative protocols. The ongoing acceptance of

ECU Health's obstructions by state actors reveals a troubling pattern of misconduct and

collusion aimed at protecting institutional interests over justice .



CONTINUED DISCRIMINATION AND INTERFERENCE:

Despite assertions by Counsel that the last discriminatory act referenced by the Plaintiff

occurred in 2014 , the evidence demonstrates persistent interference by ECU Health. As

detailed in the Plaintiff's amended complaint (DE 33 pp. 44-45) under "Acts of

Discrimination ," ECU Health's actions have continuously disrupted legitimate

investigative efforts well beyond 2014. This includes initial failu res immediately following



                                              24


    Case 4:24-cv-00051-M-RN         Document 57       Filed 08/05/24     Page 24 of 61
Keisha White's death , such as not referring her case to a med ical examiner, ongoing

protection of white personnel like Linda Brixon , and directly impeding Dr. Kelly's duty to

review critical evidence in a homicide investigation .



Counsel's portrayal of ECU Health 's actions as non-discriminatory deliberately

mischaracterizes the sustained nature of their misconduct. The allegations brought forth

by the Plaintiff extend beyond the initial events of 2014, highlighting a systematic cover-

up and protection regime motivated by racial discrimination . This ongoing shielding of

discriminatory practices by ECU Health constitutes intentional , continu ing

discrimination .



Moreover, it is crucial to recognize that ECU Hea lth 's actions have perpetually impacted

the Plaintiff's pu rsuit of justice. These are not isolated incidents but elements of a

broader, ongoing discriminatory agenda , actively maintained by ECU Health to obscure

the truth about White 's death. Such assertions by the Defendant to min imize these

actions are contradicted by the evidence and only serve to mislead the Court.



ASSERTION THAT ACTS WERE DISCRETE AND NOT REPEATED:

Counsel's characterization of ECU Health's discriminatory acts as discrete and non-

repetitive is fundamentally flawed and misconstrues the underlying issue. The Plaintiff

has documented multiple instances of discriminatory conduct by ECU Health that has

occurred over the years , demonstrating a pattern of behavior aimed at obstructing

justice . It is not merely about the frequency of a sing le type of act but the presence of



                                              25


  Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24     Page 25 of 61
various illegal acts, all converging towards a common goal : to prevent justice from being

served .



The assertion that these acts are discrete because they did not repeatedly occur in the

exact same manner overlooks the broader context of systemic discrimination. For

instance, the failure to refer Keisha White to pathology in 2014-while a singular

event-forms part of a wider pattern that includes lying to the BON , withholding crucial

details about White's death , and exerting undue influence over the medical examiner.



Drawing an analogy, Counsel's argument is akin to cla iming that an individual is not a

serial killer because they only killed one elderly man. However, if the same individual

also killed an elderly woman, a teenage boy, an adolescent girl , a baby girl , a pregnant

woman, and a middle-aged father, each under different circumstances , the pattern

clearly indicates serial killing . Similarly, ECU Health 's varied acts of discrimination , while

different in detail , all aimed at protecting their interests by evading accountability, clearly

constitute a systematic and ongoing abuse of power.



This perspective underscores the necessity of viewing ECU Health's actions in totality

rather than isolating each act, to fully appreciate the extent and impact of their

discriminatory practices.




                                               26


  Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24      Page 26 of 61
The Court Need Not Reach Issue?:

The suggestion that the Plaintiff's amended complaint should be dismissed on the basis

of the statute of limitations or other affirmative defenses, while concurrently asserting

that it is unnecessary for the Court to consider the 2016 Settlement Agreement and

Release, reveals the weakness of this defense. If the settlement agreement were

decisively relevant to dismiss the current action , Counsel for the Defendant would have

attached a copy of the agreement both when filing the motion to dismiss the Plaintiff's

original pleading and with the current motion to dismiss the amended pleading. The

absence of such documentation undermines the Defendant's reliance on this argument

and suggests an attempt to mislead the Court by not fully engaging with the implications

of the settlement agreement.



                                     V. SECTION 1983



Counsel for the Defendant has argued that ECU Health is not a state actor on the

following basis:

•   The Plaintiff referenced ECU Health as a "private entity" (DE 33 p. 3 ,-J 8) .

•   This Court has previously determined that Pitt County Memorial Hospital, aka ECU

    Health , was not a state actor in May v. Univ. Health Sys. of E. Carolina, Inc., 2021

    WL 5868135, at *5 (E.D.N.C. Dec. 9, 2021) and in Philips v. Pitt County Memorial

    Hosp ., 503 F.Supp.2d 776 (E.D. N.C. 2007).




                                              27


    Case 4:24-cv-00051-M-RN         Document 57       Filed 08/05/24      Page 27 of 61
PLAINTIFF'S REFERENCE OF ECU HEALTH BEING A PRIVATE ENTITY:

Counsel appears to evade the point by directing blame onto the Plaintiff due to her

reference of the Defendant as a "private entity." The point is while there are likely a

number of functions the Defendant conducts that satisfies the requirement of operating

as a private entity, there are also functions conducted by the Defendant that can be

attributed to the State. "A private party 'may be designated a state actor for some

purposes but still function as a private actor in other respects .' Caviness v. Horizon

Community Learning Ctr. , 590 F.3d 806 , 814 (9th Cir. 201 0) ." Morris v. Canyon Cnty.

Pub. Defender's Office, Case No. 1:20-cv-00062-BLW (D . Idaho Apr 02 , 2020) .



STATE'S RESPONSIBILITY THROUGH LAW ENFORCEMENT:

The Fourth Circuit described three circumstances in which a seemingly private entity

can be considered to have acted under color of state law, explaining that "[a] state

becomes responsible for a private party's act if the private party acts (1) in an

exclusively state capacity, (2) for the state's direct benefit, or (3) at the state's specific

behest." Id. at 1025. Philips v. Pitt County Memorial Hosp ., 503 F.Supp.2d 776 (E.D.

N.C. 2007). Philips further elaborated on the three circumstances:

•   "First, a private entity 'acts in an exclusively state capacity when it exercises powers

    traditionally exclusively reserved to the state."

•   "Second , a private entity acts 'for the state's direct benefit when it shares the

    rewards and responsibilities of a private venture with the state."




                                               28


    Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24      Page 28 of 61
•   "A private entity acts 'at the state's specific behest when it does a particular act

    which the state has directed or encouraged .' Modaber, 674 F.2d at 1025." Philips v.

    Pitt County Memorial Hosp., 503 F.Supp .2d 776 (E.D. N.C. 2007) .



While the Court has previously recognized ECU Health primarily as a private entity

performing functions not typically attributed to state actors , this case presents unique

circumstances . Instead of relying on ECU Health's business agreements with Pitt

County, the composition of its Board of Directors, or its receipt of state funds, this matter

hinges on ECU Health's deep and indistinguishable collaboration with state agencies .

This entanglement blurs the lines between state authority and private action to a degree

that necessitates treating ECU Health as a state actor under Section 1983.



For instance, in 2014, SBI Agents Donnie and Anthony, both veterans , along with

trainee Joe, deviated from standard protocols . Their failure to redirect Vicki Haddock's

(Haddock) report to appropriate local law enforcement, their unauthorized sharing of

information from the Plaintiff with Haddock, and their continued unauthorized

discussions about the case effectively granted ECU Health state-derived benefits. By

allowing Haddock to bypass required reporting channels-powers typically reserved for

the police or the district attorney-she effectively operated as a state actor on behalf of

ECU Health.



Moreover, ECU Health's refusal to make key personnel available for interviews during

the joint SBI and GPO investigation in November 2014 further exemplified the state's



                                              29


    Case 4:24-cv-00051-M-RN         Document 57        Filed 08/05/24     Page 29 of 61
delegation of authority to ECU Health . This allowed the hospital to dictate the flow of

information and the investigative focus , thereby controlling the narrative and outcome of

the investigation . This deviation from CALEA standards not only facilitated but endorsed

ECU Health's actions, illustrating a shared responsibility in the mishandling of the

investigation.



The collaboration extended to the extent that both state agencies , by failing to assert

control , effectively consented to ECU Health's lead in the investigation . As defined in C

& B Co. v. Collins , consent involves more than passive acquiescence; it implies active

agreement to something that otherwise could not exist without such permission (239

S.E.2d 725, S.C. 1977). In this context, the corruption and obstruction witnessed could

not have persisted without the state agencies' tacit approval and involvement,

embedding ECU Health's actions within the framework of state operations. This is

further underscored by Matherly's and Elias's submission of a faulty investigation report

to the DA's office.



STATE'S RESPONSIBILITY THROUGH THE DISTRICT ATTORNEY'S OFFICE

In July 2022 when DA Faris Dixon claimed to have a medical examiner's (ME) report

from Dr. Kelly, through the Plaintiff's communication with the ME's office, she proved

that Dixon lied about having such a report. By the next time she called the office in

September 2022 , a different ME office worker withheld information from the Plaintiff,

instructing her to contact ECU Health's risk manager instead. The same occurrence

repeated itself in October 2022 . The redirection was confirmed in March and April 2023



                                             30


   Case 4:24-cv-00051-M-RN          Document 57       Filed 08/05/24     Page 30 of 61
when Lowery explained that she was not supposed to be talking to the Plaintiff, but the

Plaintiff was supposed to be talking to risk management, instead . These redirections ,

authorized by ECU Health , directly benefitted the State as it aimed to shield the district

attorney by preventing the Plaintiff from potentially learning other misconduct by Dixon .

As stipulated by the Fourth Circuit, "a private entity is considered a state actor .. .when it

acts "for the state's direct benefit[.)" Philips v. Pitt County Memorial Hosp ., 503

F.Supp.2d 776) .



Additionally, due to the timing , it is plausible that the decision to redirect the Plaintiff's

phone calls, was reta liatory in nature, aimed to silence the Plaintiff.



SATE'S RESPONSIBILITY THROUGH THE MEDICAL EXAMINER:

ECU Health performed activities that are exclusively a state function when it inflicted

control over the medical examiner's office in 2022 and 2023 . Medical examiners, by the

nature of their job function , have exclusive authority to direct death investigations and to

operate their offices without external influences and pressure. Kelly was appointed by

the state, is employed by the state , and operates as a state entity. ECU Health 's control

over the ME's office by instructing workers to withhold information from the Plaintiff,

wh ich was a targeted act in violation of Plaintiff's First Amendment, was not a function

nor a duty of a private entity's daily operations . ECU Health 's requirement that Kelly

obtain the permission of their risk manager and attorneys further placed the Defendant

in a state-exclusive position as it effectively stripped the med ical examiner of her state-

sanctioned authority. Furthermore, Kelly authorized and encouraged ECU Health's



                                                31


  Case 4:24-cv-00051-M-RN            Document 57        Filed 08/05/24      Page 31 of 61
conduct as she willingly relinquished her authority to the Defendant and adhered to their

authority by fail ing to review the evidence in White's case, thus failing to provide her

expert opinion based on med ical probability. These acts were more than mere

acquiescence, as they also violated the Plaintiff's civil rights , including access to

information from an otherwise willing speaker, access to the courts, due process, and

equal protection .



Counsel asserts that ECU Health , as a private corporation , cannot be held liable under

a respondeat superior theory but only through an official policy or custom that causes

the deprivation of federal rights .



In Blum v. Yaretsky, 457 U.S. 991 (1982) , the Supreme Court emphasized that for a

private entity's action to be considered state action , the state must have provided

significant encouragement or exercised coercive power over the entity's actions. Mere

approval or acquiescence is not sufficient. Similarly, in Lugar v. Edmondson Oil Co., 457

U.S. 922 (1982) , the Court explained that joint participation in action with state officials

satisfies the state action requirement. Furthermore, in Brentwood Academy v.

Tennessee Secondary School Athletic Association , 531 U.S. 288 (200 1), the Court

elaborated that pervasive entwinement between the private entity and the state can

convert private actions into state actions. In Morris v. Canyon Cnty. Pub. Defender's

Office, the court outlined several contexts in which a private party can be conside red a

state actor for purposes of a civil rights action , including : (1) the state's "exercise of

coercive power" or "significant encouragement"; (2) participation in "joint activity" with



                                               32


  Case 4:24-cv-00051-M-RN             Document 57      Filed 08/05/24      Page 32 of 61
the state; (3) being "controlled by an agency of the State"; (4) being "delegated a public

function by the State"; and (5) being "entwined with governmental policies ," or the

government being "entwined in [the private party's] management or control" (Morris v.

Canyon Cnty Pub. Defender's Office, Case No. 1:20-cv-00062-BLW (D . Idaho Apr 02 ,

2020)) .



MISREPRESENTED INFORMATION:

Counsel for the Defendant has again misrepresented the Plaintiff's statements. In DE

50 p. 16 ,I 3, Counsel referenced Plaintiff's amended complaint (DE 33 p. 48) , asserting

that Plaintiff "simply concludes that ECU Health has adopted 'Discrimination as Policy."'

Counsel follows this assertion with "Once again , however, she fails to allege a single

supporting factual allegation ," and other statements used to support his

misrepresentation that Avens failed to support her claim under§ 1983.



Counsel's assertions are incorrect because the section of the Amended Complaint he

referenced , "Discrimination as Policy," was part of the Plaintiff's argument for§ 1981 ,

which requires allegations and support for discrimination. Under§ 1983, it is not

necessary to prove discrimination , only a civil rights violation by a state actor. The

Plaintiff's argument for§ 1983 begins after the section referenced by Counsel. This

misrepresentation cannot be attributed to Plaintiff's amended complaint being

"convoluted " or "not clear," as each issue under her "Cause of Action" is clearly labeled

with headings and subheadings.




                                              33


  Case 4:24-cv-00051-M-RN          Document 57       Filed 08/05/24      Page 33 of 61
In response to Counsel's claim that Avens' civil rights could not have been violated

because she was not a patient of ECU Health, Counsel has missed the point of

Plaintiff's argument and referred to an argument that the Plaintiff did not use to support

a § 1983 claim . Counsel's references to Plaintiff's assertions that ECU Health placed

finances over patient safety (DE 50 p. 17 ,i 2) are part of Plaintiff's§ 1981 claims (DE 33

pp. 44-49) . Therefore, the above arguments do not apply.



OFFICIAL POLICY OR CUSTOM:

Under§ 1983, the Plaintiff must show that an official policy or custom of ECU Health

caused the deprivation of her federal rights. The Plaintiff has identified several actions

within her amended pleading (DE 33) , as well as in this response to Defendant's motion

to dismiss . The commonality in ECU Health's conduct is their persistent effort to

obstruct justice , efficiently causing the coverup of White's death and concealing the

circumstances thereof from the eyes of the court. Through their conduct, ECU Health

has consistently violated the Plaintiff's civil rights , including the right to give and receive

information , access the courts, due process, and equal protection .



ECU Health's established customs and unwritten policies include:

•    Failure to comply with state and federal mandates, including healthcare regulations,

     and adequately and honestly reporting to oversight boards;

•    Consistent interference with state functions including those of the ME , S8I , GPO ,

     DA, and possibly others; and




                                               34


    Case 4:24-cv-00051-M-RN         Document 57        Filed 08/05/24      Page 34 of 61
•   Ongoing protection of wh ite staff members despite illegal implications of their

    actions.



"An unwritten policy or custom must be so 'persistent and widespread ' that it constitutes

a 'permanent and well settled' practice." Monell, 436 U.S. at 691 (quoting Adickes v.

S.H. Kress & Co., 398 U.S. 144, 167-168 (1970)) . "Liability for improper custom may not

be predicated on isolated or sporadic incidents; it must be fou nded upon practices of

sufficient duration , frequency and consistency that the conduct has become a traditional

method of ca rrying out policy. " Trevino v. Gates, 99 F.3d 911 , 918 (9th Cir. 1996).

Burress v. Idaho State Trooper Rutland, 1:22-cv-00518-DCN (D. Idaho Apr 25 , 2023) ."



In applying these cases, ECU Health's unwritten policy or custom:

    •   Was so persistent that the Defendant's conduct spanned an entire decade;

    •   Was so widespread that it involved complicit involvement of state agencies

        affecting those in charge as well as subordinates working and training under their

        gu idance ; and

    •   Was repeatedly endorsed from their initial failure to refer White to pathology in

        2014 , thereby preventing a lawful medical examiner evaluation , to their

        prohibition of Kelly's review in 2022 and 2023, establishing a permanent and

        well-settled practice .



All of the above in this particular case, has been at the expense of the Plaintiff's civil

rights , physical health , psychological well-being , time, efforts, and finances.


                                               35


    Case 4:24-cv-00051-M-RN         Document 57        Filed 08/05/24     Page 35 of 61
                                    VI. SECTION 1981



All persons within the jurisdiction of the United States shall have the same right in every

State and Territory to make and enforce contracts , to sue, be parties , give evidence ,

and to the full and equal benefit of all laws and proceedings for the security of persons

and property as is enjoyed by white citizens, and shall be subject to like punishment,

pains , penalties , taxes, licenses, and exactions of every kind . 42 U.S.C.A. § 1981 .

Walker v. City of Coatesville, CIVIL ACTION No. 14-853 (E.D . Pa . Nov 26 , 2014) .



While the Plaintiff contends that ECU Health intentionally discriminated against her due

to her race , this assertion does not exclude the Defendant's intentional racial

discrimination against Plaintiff's daughter, White .



The Plaintiff contends that white personnel at ECU Health comm itted egregious and

fatal abuse and neglect based on racial discrimination , and the Defendant perpetuated

this bias through its persistent protection of those employees. ECU Health's conduct

was undeniably intentional. While lapses in judgment may occur sporadically,

consistently violating the law reflects deliberate action . ECU Health's conduct targeted

the Plaintiff, evident in the Defendant's violative conduct over an extended period , from

2014 - 2023 . Their actions aimed to control the narrative and prevent the criminal

prosecution of the white nurse responsible for Wh ite's death , thereby shielding the entity

from media and public fallout.




                                              36


  Case 4:24-cv-00051-M-RN          Document 57         Filed 08/05/24   Page 36 of 61
For a decade, the Plaintiff was repeatedly told , by law enforcement and the DA's office,

that no crime occurred in her daughter's death. In a December 7, 2015 , letter from

former GPD Chief Mark Holtzman (Holtzman), for example, he stated , "Based on all of

the information available , it is clear that a thorough review of the facts of this matter has

been conducted by several law enforcement agencies , and each review resulted in a

finding that this was not a criminal matter."4 Though Holtzman did not explicitly state

whether witnesses were not interviewed , his language led the Plaintiff to reasonably

assume that such interviews were part of the "thorough review. " The Plaintiff knew she

had not been interviewed but never considered the possibility that no witnesses were

interviewed , as interviewing witnesses is a fundamental part of any investigation .



It was only when Matherly revealed that hospital personnel had not been interviewed

that the Plaintiff understood the true extent of the investigative deficiencies. This

revelation contrasted sharply with the assurances from Holtzman and DA Dixon, who

had stated , "Greenville Police Department and the North Carolina State Bureau of

Investigation conducted a concurrent inquiry. Both agencies' findings were subsequently

turned over to the Pitt County District Attorney's Office. Assistant District Attorney A.

Futrell was tasked with reviewing the information." Such statements would lead any

reasonable person to believe that a proper investigation, including witness interviews ,

had been conducted .




4 See Exhibit 14: Letter from Former GPD Chief, Mark Holtzman.


                                              37


  Case 4:24-cv-00051-M-RN           Document 57       Filed 08/05/24     Page 37 of 61
The Plaintiff's ability to seek redress was obstructed by these mislead ing assurances. It

was only upon learning, on May 30, 2024, that no witnesses had been interviewed , that

the Plaintiff realized the investigation had been fundamentally flawed and that there was

a basis for a civil rights claim. This critical information was not available to the Plaintiff

within the three-year statute of limitations for filing a timely civil rights claim , which

should have been filed by November 2017 , based on when the failure to interview

witnesses presumably took place. The Defendants' systematic obstruction and

concealment of information prevented the Plaintiff from discovering the truth and taking

timely legal action .



Due to ECU Health's conduct in posthumously handling White's death and their

incessant interference with or prevention of an adequate investigation into White's

death , the Plaintiff's ability to seek redress prior to filing the case at hand was not just

hampered but completely obstructed . This redress includes Avens' pursuit of criminal

justice for the death of her daughter, as well as any civil course of action against ECY

Health, the City of Greenville, and/or other parties involved, which was inherently the

point of the coverup.



In the case of Foster v. MCI Telecommunications Corp , the Court explained ,

" ... disparate treatment cases do require a showing of discriminatory intent. The proof of

discriminatory intent required to establish liability under§ 1981 apparently differs little, if

at all , from the proof of discriminatory intent required to prove liability under a "disparate

treatment" theory. As in any other kind of case, proof of intent is seldom, if ever, possible



                                                38


  Case 4:24-cv-00051-M-RN            Document 57        Filed 08/05/24      Page 38 of 61
except by indirect or circumstantial evidence. Here the totality of the evidence, including

Harrell's actions in evaluating Foster, as well as his general attitude in race relations ,

fully justifies an inference that there was intent to discriminate against Foster because

Foster is black. I find and conclude that the defendant was guilty of intentional

discrimination as required under§ 1981." Foster v. MCI Telecommunications Corp. , 555

F.Supp. 330 (D . Colo. 1983).



The prevention of such a claim in 2017 can be directly attributed to ECU Health due to

their systematic obstruction , discriminatory protection of white personnel , and

concealment of information , as well as their immense control over state agencies. This

directly impacted the Plaintiff's ability to seek redress .



                                     VII. SECTION 1985



Counsel for the Defendant has argued that the Plaintiff failed to state a claim for relief

under § 1985.



As the Fourth Circuit stated in Hinkle v. City of Clarksburg: "Appellants have a weighty

burden to establish a civil rights conspiracy. While they need not produce direct

evidence of a meeting of the minds, Appellants must come forward with specific

circumstantial evidence that each member of the alleged conspiracy shared the same

conspiratorial objective. See Hafner v. Brown , 983 F.2d at 576-77 ; Abercrombie v. City

of Catoosa . Oki, 896 F.2d 1228, 1230-31 (10th Cir.1990); Fonda v. Gray, 707 F.2d 435,



                                               39


  Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24    Page 39 of 61
438 (9th Cir. 1983). In other words , to survive a properly supported summary judgment

motion, Appellants' evidence must, at least, reasonably lead to the inference that

Appellees positively or tacitly came to a mutual understanding to try to accomplish a

common and unlawful plan. Burt v. Hale , Civil Action No. 3:09-3343-SB (D. S.C. Sep 26,

2011) ."



Similarly, this Court in Eley v. Harders , determined, "[t]o the extent Eley alleges a

conspiracy claim under 42 U.S.C . § 1985, to state a claim , Eley must plausibly allege

"that the [defendants] acted jointly in concert and that some overt act was done in

furtherance of the conspiracy which resulted in [the plaintiff's] deprivation of a

constitutional right." Hinkle v. City of Clarksburg, 81 F.3d 416,421 (4th Cir. 1996). To

show joint, concerted action , plaintiffs must, at minimum , provide "specific circumstantial

evidence that each member of the alleged conspiracy shared the same conspiratorial

objective." Id. Eley v. Harders, No. 2:17-CV-59-D (E.D . N.C. Jul 23 , 2018) .



In neither of the above-referenced cases did the Court determine that the "meeting of

the minds" requirement had to be fulfilled with direct evidence ; only plausible

allegations. The Plaintiff has met this burden by showing that each of the state entities,

the DA, SBI , GPO, and ME, through their complicit cooperation with ECU directives and

acceptance of ECU Health's interference, to the extent that each of the named entities

forsook their state-sanctioned authority, as well as standards of regulatory agencies,

such as CALEA, demonstrated their meeting of the minds with ECU Health's objectives

in blocking an adequate homicide investigation.



                                              40


  Case 4:24-cv-00051-M-RN          Document 57       Filed 08/05/24     Page 40 of 61
As Counsel has indicated (DE 50 p. 22 last ,I), § 1985 claims have been rejected in

absence of concrete supporting facts. Counsel has well acknowledged the

communications between Haddock and the SBI during the summer months of 2014 , for

example, though he has mischaracterized the interaction as an investigation . Counsel's

acknowledgement confirms the concrete supporting fact. Additionally, the Defendant

can not produce a single shred of evidence that supports an investigation at that time

had an investigation actually taken place as purported by the Defendant.



The three SBI agents (Donnie , Joe, and Anthony) were not from the local SBI office in

Greenville , NC, as would have been ordinarily expected , thus adding another layer to

ECU Health's failure to contact local law enforcement. For that reason , when the

Plaintiff attempted to gather information from the S8I , she contacted the Greenville

office and spoke to an Agent Brown who had no knowledge of any such investigation ,

no knowledge of White's death , and no knowledge of any communications with

Haddock.



Other concrete facts include statements from Matherly who revealed that ECU Health

failed to make personnel available for interview after she and Elias were assigned to the

case in November 2014 . Their report was submitted to the DA's office , and both DA's

(former DA Kimberly Robb (Robb) and the current DA, Faris Dixon) accepted the

reports lacking statements from witnesses, hospital personnel , suspects, and the

Plaintiff. Dixon claimed in the recorded phone call that the Plaintiff was not interviewed

because, "that would have been because at the time, no one thought that it was, it was



                                            41


  Case 4:24-cv-00051-M-RN         Document 57       Filed 08/05/24     Page 41 of 61
criminal. " See Exhibit 9 p. 8 at 05:19. He further asserted that the Plaintiff could only be

interviewed depending on the medical examiner's findings . See Exhibit 9 p. 8 at 06 : 13.

Both statements by Dixon were clear misrepresentations due to the investigators'

CALEA requirement to interview witness and suspects. Therefore, the DA, Matherly, and

Elias did have a meeting of the minds with ECU Health to ensure that an adequate

investigation into White's death was not conducted . Intentional oversight of falsified

med ical records in the DA's possession further underscores the conspiracy.



Lastly, the transcript of the phone call with Lowery serves as a concrete supporting fact,

as well as the absence of a report from Dr. Kelly who was provided evidence to review,

but failed to perform her job functions , opting instead , to adhere to ECU Health's

requirement to obtain their approval before acting .



In all of the above situations where concrete supporting facts are indicated , the

essential nature of the single plan was to obstruct justice by preventing a lawful

investigation into White's death . Through ECU Health , each party, including ECU

Health, has taken justice out of the court's hands and decided for themselves that Linda

Brixon , Elizabeth Everette, and possibly others , will not be prosecuted for their crimes .

By claiming no crime was committed in White's death , Dixon did not have to

acknowledge the obstruction and conspiracy that followed .




                                              42


  Case 4:24-cv-00051-M-RN          Document 57         Filed 08/05/24    Page 42 of 61
INVIDIOUS DISCRIMINATORY ANIMUS (IDA)

TOLERANCE OF RACIAL ANIMOSITY:

To satisfy the IDA requirement, the Plaintiff has pointed out the consistent pattern of

ECU Health's actions aimed at protecting their financial interests at the expense of

providing justice for a black patient, White, and her family. The Plaintiff contends that

ECU Health's protective measures for white personnel involved in White's death, their

persistent interference with investigations, and the systemic exclusion of the Plaintiff

from obtaining crucial information were motivated by racial discrimination . This pattern

of behavior indicates that the actions taken by ECU Health were not random or isolated

but were driven by an intent to shield white employees from legal repercussions , thus

protecting their image, rather than to risk being known as the hospital where white

nurses kill helpless black patients. This goal demonstrates racial animus. This animus is

evident in the way the Defendant prioritized its interests over the Plaintiff's right to

justice, which is a key element of proving a § 1985 conspiracy. Additionally, because

there is no logical reason for why Brixon deliberately chose to repeated ly abuse and

neglect Keisha White over the course of a twelve-hour shift, covering her tracks in the

process , racial animosity is the only conclusion that can logically be drawn. ECU

Health's protection of this conduct further underscores that their intent was based on

race and reflects a disregard for the rights and dignity of Black patients and their

families , suggesting a discriminatory policy within the institution.



The ongoing conduct and the apparent institutional endorsement of such practices

demonstrate that ECU Health not only tolerates but actively supports an environment



                                              43


  Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24     Page 43 of 61
where racial discrimination is condoned . This protective stance towards staff members

accused of racially biased actions and the systematic obstruction of justice serve as

stark evidence of ECU Health's invidious discriminatory animus, because through their

influence and control of state agencies , (the GPO , SBI , ME, and DA) ECU Health has

prevented the Plaintiff from receiving fair and equal treatment in those agencies.



The court found in Jiminez v. Mary Washington College, 57 F.3d 369 (4th Cir. 1995),

once a commitment is made , there is a duty to protect from racial animus . In Jiminez ,

MWC was found to have a duty to protect Jiminez from racial and national origin animus

once he was employed. Similarly, ECU Health's acceptance of White as a patient

obligated them to protect her from racial animus. After fa iling to do so, ECU Health's

protective measures for personnel involved in her death demonstrate an ongoing

invidious discriminatory animus . Similarly, when ECU Health representatives decided to

report to the BON and law enforcement, ECU Health had an obligation to protect the

integrity of the reports, thus protecting the Plaintiff's rights .



The court in Jiminez also emphasized that ignoring tainted information and failing to

conduct an investigation into such animus is a form of discrimination . This is directly

applicable here , where ECU Health ignored the tainted medical records falsified by

Everette, protected white personnel , including Brixon , and interfered with proper

investigations, perpetuating racial animus .




                                                44


  Case 4:24-cv-00051-M-RN            Document 57        Filed 08/05/24   Page 44 of 61
THE UNADDRESSED MIDDLE GROUND:

It has been well-settled that the court system does not cognizably recognize the right to

the investigation or the prosecution of another, such as has been determined in Mitchell

v. McNeil, 487 F.3d 374, 378 (6th Cir. 2007) ... " Hoff v. Joyce , 1:22-cv-151 (D. N.D . Aug

16, 2023).



It has also been settled in the court system that because decedents do not have

cognizable recognizable rights in the courts, a cover-up of the decedent's death

provides a cause of action for a civil rights claim to the true victim of the cover-up; the

surviving family members . For example , in the case of Love v. Bolinger, the Plaintiffs

brought suit against the defendants for allegedly covering up the death of their loved

one, Joseph Love, who died in his jail cell. The case was dismissed because the

family's claims were in support of Love 's civil rights via his estate, and it was explained ,

"[a]fter death, one is no longer a person within our constitutional and statutory

framework and has no rights of which he may be deprived." Whitehurst v. Wright, 592

F.2d 834, 840 (5th Cir.1979).



However, the Love case also expressed , "We do not hold that cover-up of a wrongful

death is without civil or criminal effect; rather, we hold that 'the victims of a cover-up are

the decedent's survivors, not the decedent himself."' Gibson, 910 F.2d at 1523, citing ,

Be/Iv. City of Milwaukee , 746 F.2d 1205, 1264 (7th Cir.1984). Love v. Bolinger, 927

F.Supp. 1131 (S .D. Ind. 1996).




                                              45


  Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24     Page 45 of 61
To simplify, the above cases indicate :

   1. The court does not recognize a legal right to an investigation of or the

       prosecution of another person.

   2. Dead people do not have recognized rights .

   3. If a death is covered up, the surviving family members are the victims of any civil

       rights violations resulting from the cover-up.

   4. If a death is covered up, the perpetrators of the cover-up may be held criminally

       responsible.

   5. If there are civil rights violations as a result of a death being covered up , the legal

       victims (decedent's family) can seek civil remedy.

What is not addressed in these cases is a middle ground that could potentially apply in

other circumstances, such as in the Plaintiff's case. In cases that involve the cover-up of

a death , the court acknowledges a civil remedy to the victim. Yet, the court fails to

recognize that if there was no cover-up, justice could prevail through the investigation

and prosecution of another. Since it is illegal to violate one's civil rights in the process of

covering up a death , then one must have a right to the investigation or prosecution of

another, because if not for the cover-up , an appropriate investigation and/or prosecution

could take place. The Pla intiff believes this is a fundamental flaw in the reasoning of our

court system ; a flaw that should be reasonably addressed. The evaluation of such a

concern should not threaten prosecutorial boundaries in the process. Contrarily, it would

support those boundaries , because if there is evidence of foul play in a death , and the

evidence supports criminal prosecution , then there is no encroachment on ethical

prosecutorial decisions. The Plaintiff is asking the Court to consider the middle ground.



                                              46


  Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24     Page 46 of 61
The victim of the cover-up , in this case the Plaintiff, does have a cognizable right to the

investigation or prosecution of another since the cover-up is the but/for; if not for the

cover-up, the victim's rights would not have been violated. If the victim's rights are not

violated , then a proper investigation and potentially, prosecution would take place,

ensuring that just would prevail for one side or the other. It is in this regard that the

courts system has either failed to or has not had the opportunity to bring the

circumstances together, creating an exception to known practices.



THE EXCLUSION OF NON-PARTIES

UNNAMED AGENTS:

Counsel for the Defendant has again misrepresented the Plaintiff's statements . In DE

50 p. 23   ,m 2 and 3, Counsel asserts that Plaintiff's allegations regarding a civil rights
conspiracy are vague and lack supporting facts , further claiming that Plaintiff does not

concretely identify the parties to the purported conspiracy and suggests involvement of

"unidentified SBI agents" (DE 33 ,I 85) . This is inaccurate.



The Plaintiff has clearly identified the SBI agents involved , as outlined in DE 33 ,I,I 83

and 85 of the amended complaint. In paragraph 83, Plaintiff specified the names of the

agents-Anthony, Donnie, and Joe-as provided by Haddock. In paragraph 85, Plaintiff

detailed an encounter in Haddock's office where the agents were again referenced by

their first names , and further information was provided about Joe being trained by

Donnie.




                                               47


  Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24     Page 47 of 61
The selective reference to paragraph 85 while overlooking paragraph 83 while also

failing to recognize the agents' names in both paragraphs does not excuse Counsel

from the responsibility to accurately represent the Plaintiff's statements . Such repeated

misrepresentations appear intentional and undermine the integrity of the argument. It

also appears that Counsel is attempting to discredit the Plaintiff's safety concerns by

tempting her into revealing full names in her public documents.



THE NON-PARTIES:

•    Counsel overlooks the fact that while SBI agents and GPO officers are not named as

     defendants in the current case, their exclusion is due to the expiration of the three-

     year statute of limitations on their alleged actions and the Plaintiff's lack of evidence

     at the time of filing . Additionally, the Plaintiff was unaware of law enforcement's

     failure to interview key witnesses, particularly hospital personnel , until after this suit

     was filed.

•    However, the discovery of previously hidden evidence may warrant tolling the statute

     of limitations, allowing these non-parties to be added at a later date or to be named

     defendants in a separate case. ECU Health has been named because of its

     continued involvement in conspiratorial activities with the defendants who are parties

     to this litigation. The absence of law enforcement officials as current parties does not

     prevent their future inclusion in place of the "John and Jane Doe" defendants.

•    Leveraging the absence of SBI agents and GPO officers in the lawsuit to undermine

     the Plaintiff's claims is a diversionary tactic. Such arguments do not absolve ECU

     Health of its wrongdoing . The focus should remain squarely on ECU Health and the



                                                48


    Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24      Page 48 of 61
   named defendants, whose ongoing conspiracy falls well within the statute of

   limitations and is robustly documented and supported by the Plaintiff's evidence.

   This ensures that the primary responsibility for the wrongfu l actions lies where it truly

   belongs, independent of any actions by non-parties.



SUMMARY:

The Plaintiff has met the burden of showing concrete facts necessary to establish a §

1985 conspiracy through documented interactions and the persistent, coordinated

actions of state entities in alignment with ECU Health's directives. The Plaintiff has also

demonstrated that these actions were motivated by invidious discriminatory animus, as

evidenced by the Defendant's consistent protection of white employees through their

interference with lawful investigations of law enforcement, the medical examiner, and

district attorney's office.



This quote from Bray supports how ECU Health could be held liable under § 1985 in two

ways: (1) by conspiring to deprive the Plaintiff of her equal protection rights ; and (2) by

conspiring to prevent state authorities from providing equal protection . "I find it

unnecessary to address the merits of this argument, however, as I am content to rest

my analysis solely on the basis that respondents are entitled to invoke the protections of

a federal court under the second clause of§ 1985(3). Whereas the first clause of the

statute speaks of conspiracies whose purpose is to "depriv[e] , either directly or

indirectly, any person or class of persons of the equal protection of the laws , or of equal

privileges and immunities under the laws ," the second clause address conspiracies



                                              49


  Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24     Page 49 of 61
aimed at "preventing or hindering the constituted authorities of any State or Territory

from giving or securing to all persons within such State or Territory the equal protection

of the laws." ... Bray v. Alexandria Women Health Clinic, 506 U.S. 263 , 113 S.Ct. 753 ,

122 L.Ed .2d 34 (1993).



                                          VIII. TITLE VI.



Counsel for the Defendant has argued that the Plaintiff has failed to plausibly allege

intentional racial discrimination under Title VI. However, the legal principles established

in Bryant v. School District No. I 38 of Garvin County, Ok., 334 F.3d 928 (10th Cir. 2003) ,

directly support the Plaintiffs claim .



In Bryant, the court held that maintaining a hostile environment can indeed be

intentional, especially when those in authority are aware of egregious acts of

discrimination and choose to do nothing. The court emphasized that school

administrators, who are responsible for maintaining a non-discriminatory educational

environment, can be held liable under Title VI if they are deliberately indifferent to

known acts of racial discrimination . This standard is based on the Supreme Court's

reasoning in Davis v. Monroe County Board of Education , 526 U.S. 629 (1999), which

established that deliberate indifference to known harassment can constitute an

intentional violation under Title IX, and by extension , Title VI.




                                                50


  Case 4:24-cv-00051-M-RN           Document 57         Filed 08/05/24   Page 50 of 61
The Bryant court articulated a four-part test for establishing deliberate indifference

under Title VI, which includes:

   •   Actual Knowledge: The defendant had actual knowledge of the discriminatory

       acts.

   •   Deliberate Indifference: The defendant was deliberately indifferent to these acts.

   •   Severity and Pervasiveness: The harassment was so severe , pervasive , and

       objectively offensive that it

   •   Deprivation of Benefits: Deprived the victim of access to the benefits or

       opportunities provided.

In the present case, ECU Health had actual knowledge of the discriminatory practices

and the racially hostile environment faced by Keisha Marie White and her family. The

Defendant was aware that White, the only black patient under Brixon's ca re, was also

the only patient under Brixon's care who was severely and fatally neglected . ECU

Health was aware that White's cardiac leads were the only set of leads not connected a

patient under Brixon's care and in a department designated for cardiac monitoring

patients . The Defendant was also aware that White's cardiac monitor was deliberately

silenced , yet this was not the case among Brixon's other patients. The silencing of the

monitor, as well as the failure to connect the cardiac leads made it impossible for staff to

be alerted when White stopped breathing and when her heart stopped beating . Despite

this knowledge, ECU Health chose to protect Brixon and other personnel from criminal

interrogation , wh ile doing nothing to address the discrimination , thereby demonstrating

deliberate indifference. This indifference was severe and pervasive, contributing to a

hostile environment that deprived the Plaintiff and her daughter of their rights and


                                              51


  Case 4:24-cv-00051-M-RN              Document 57   Filed 08/05/24     Page 51 of 61
benefits. Because this protection of white workers has conti nued through various acts of

the Defendant, the continuous wrong doctrine applies.



Therefore, under the standards established in Bryant and Davis , the Plaintiff has

plausibly alleged intentional racial discrimination under Title VI. The Plaintiff's claims are

supported by specific facts that demonstrate ECU Health's deliberate indifference to

known acts of racial discrimination , wh ich constitutes an intentional violation of her civi l

rights .



FEDERAL FUNDS:

Counsel claims that the Plaintiff only "generally alleges that ECU Health received

'federal funds ,"' referencing DE 33 ,I 8. However, this assertion overlooks detailed

evidence provided in the amended complaint. It is well-documented that ECU Health not

only received substantial federal funding through Medicare and Medicaid but was also

at risk of losing these funds due to non-compliance with federal healthcare regulations

established by the Center for Medicare and Medicaid Services (CMS) in 2014 , as

detailed in DE 33 ,I,I 40, 95, and page 45. Furthermore, Exh ibit 7 explicitly outlines ECU

Health 's Non-Compliance Issues on pages 5-7 , substantiating these cla ims .



                                          IX.§ 1988



Though the Plaintiff is currently self-represented , she reserves the right to seek

attorney's fees in the event that counsel is retained to represent the case at hand.



                                               52


  Case 4:24-cv-00051-M-RN           Document 57        Filed 08/05/24     Page 52 of 61
                                 X. NEGLIGENCE PER SE



Counsel for the Defendant argues that the Plaintiff fails to plausibly allege any of the

essential elements for a negligence per se claim under North Carolina law, citing Hardin

v. York Mem 'I Park, 221 N.C. App. 317, 326, 730 S.E.2d 768, 776 (2012) . This argument

overlooks the specific allegations and legal standards referenced in the Plaintiff's

amended complaint.



ELEMENTS OF NEGLIGENCE PER SE

In order to prevail on a claim of negligence per se , plaintiff must show,

   (1) a duty created by a statute or ordinance ;

   (2) that the statute or ordinance was enacted to protect a class of persons which

       includes the plaintiff;

   (3) a breach of the statutory duty;

   (4) that the injury sustained was suffered by an interest which the statute protected;

   (5) that the injury was of the nature contemplated in the statute; and ,

   (6) that the violation of the statute proximately caused the injury.

North Carolina's appellate courts have articulated that at common law, it is an offense to

obstruct, impede , or hinder public or legal justice. This was first recognized in In re

Kivett, 309 N.C. 635, 670 , 309 S.E.2d 442, 462 (1983) , concerning a judge's attempt to

prevent a grand jury investigation into suspected criminal conduct.




                                              53


  Case 4:24-cv-00051-M-RN          Document 57       Filed 08/05/24       Page 53 of 61
Furthermore, North Carolina recognizes a civil cause of action for obstruction of justice.

This tort was established in Henry v. Deen , 310 N.C. 75 , 310 S.E.2d 326 (1984) ,

involving wrongful death claims alongside allegations of false medical record entries

and concealment of genuine records . This principle was reaffirmed in Braswell v.

Medina , 805 S.E.2d 498, 255 N.C. App . 217 (N .C. App. 2017) .



These precedents support the Plaintiff's claim that ECU Health's failure to adhere to

federal healthcare laws and the subsequent cover-up activities meet the criteria for

negligence per se.



A DUTY CREATED BY A STATUTE OR ORDINANCE:

As defined in In re Kivett, the duty to not obstruct justice applies universally, not just to

individuals in the judicial system. In Kivett, a judge's attempt to delay a grand jury

investigation highlights that no one is beyond accountability, including businesses and

institutions . This precedent establishes that everyone under the rule of law is expected

to adhere to statutes and common law ordinances against obstruction of justice and

conspiracy, reinforcing that such duties are deeply embedded in our legal framework .



THAT THE STATUTE OR ORDINANCE WAS ENACTED TO PROTECT A CLASS OF

PERSONS WHICH INCLUDES THE PLAINTIFF STATUTE:

The statutes against obstruction of justice and civil conspiracy are specifically designed

to protect individuals involved in legal proceedings from any interference or unlawful

conspiracies that could obstruct the course of justice. As the Plaintiff depended on the



                                              54


  Case 4:24-cv-00051-M-RN           Document 57       Filed 08/05/24      Page 54 of 61
justice system to investigate her daughter's death with the same diligence and

impartiality afforded to other homicide and potential homicide cases, she clearly falls

within the class of persons these laws aim to protect. This alignment underscores that

the Plaintiff is directly protected by these statutes , ensuring that her rights to a fair

investigation and pursuit of justice are upheld .



A BREACH OF THE STATUTORY DUTY:

The Defendant, ECU Health, breached the statutory duty by:

•   failing to refer White to a medical examiner,

•   failing to accurately complete White's death certificate,

•    withholding information in their report to the BON ,

•    lying to the BON about Brixon's previous disciplines,

•   failing to hold Everette accountable for falsifying medical records, including in-house

     disciplines, reporting to the BON , and reporting criminal conduct to law enforcement,

•   failing to report White's death to the proper law enforcement agency,

•    maintaining an improper relationship with SBI agents, not local to Greenville, thereby

     exchanging unauthorized information over a period of at least several months, bout

     a case they were not authorized to discuss due to their jurisdictional restrictions ,

•    withholding information from the Plaintiff during the disclosure meeting and other

     communications up and including the wrongful death mediation process ,

•    fai ling to cooperate with a joint police and SBI investigation implemented in

     November 2014, by withholding information and failing to make personnel available

     for interview,


                                               55


    Case 4:24-cv-00051-M-RN         Document 57        Filed 08/05/24      Page 55 of 61
•   requiring the Medical Examiner's office to withhold information from the Plaintiff after

    the Plaintiff discovered Dixon lied about having an ME report by calling the ME's

    office,

•    requiring the ME, Dr. Kelly, to obtain their permission before she could be "allowed"

    to participate in the death investigation of White.

Each of these actions by ECU Health not only breached statutory duties but also

strategically obscured the circumstances surrounding White's death, demonstrating a

concerted effort to hinder justice.



THAT THE INJURY SUSTAINED WAS SUFFERED BY AN INTEREST WHICH THE

STATUTE PROTECTED:



The interests protected by common law obstruction of justice and conspiracy

encompass the right to a fair and unimpeded legal process. ECU Health's actions have

directly harmed the Plaintiff's ability to seek criminal and civil redress , effectively

positioning itself as a gatekeeper to the court. This has created an insurmountable

barrier to accessing justice, thus sealing off state-level courts from the Plaintiff and

infringing upon her civil rights. This obstruction directly impacts the Plaintiff's ability to

access the legal remedies and protections that these statutes are designed to ensure.



THAT THE INJURY WAS OF THE NATURE CONTEMPLATED IN THE STATUTE:

The laws against obstruction of justice and conspiracy are designed to prevent specific

harms such as interference with legal proceedings, tampering with potential witnesses ,



                                               56


    Case 4:24-cv-00051-M-RN           Document 57      Filed 08/05/24      Page 56 of 61
and the concealment of critical evidence-all of which could adversely affect the

outcome of legal actions. Through the conduct of ECU Health and the other defendants,

the Plaintiff was systematically denied access to the courts, due process, equal

protection under the law, and the freedom to give and receive information , which are

precisely the types of injuries these laws aim to prevent.



THAT THE VIOLATION OF THE STATUTE PROXIMATELY CAUSED THE INJURY:

ECU Health's actions directly infringed upon the Plaintiff's civil rights , prompting the

filing of th is lawsuit in U.S. District Court. The Defendant's control over state entities has

barred the Plaintiff from seeking remedies through state-level avenues . The only entities

mentioned in the Plaintiff's filings are those for which factual evidence exists, with the

hope that discovery will uncover further unlawful involvement with other state entities.



ECU Health's incessant interference has necessitated extraordinary measures by the

Plaintiff, such as retaining an independent medical examiner and recording

conversations with key officials. Had it not been for ECU Health's obstruction, a

comprehensive police investigation would have been initiated in 2014 , involving

interviews with hospital personnel , the Plaintiff, and her family, potentially leading to

justice based on the complete scope of evidence .



The persistent impediment of justice by ECU Health over a decade not on ly implies guilt

but demonstrates a clear consciousness of guilt. As noted in Marshall v. State, 583 A.2d




                                              57


  Case 4:24-cv-00051-M-RN           Document 57       Filed 08/05/24      Page 57 of 61
1109, 85 Md .App. 320 (Md . App. 1990), interference with police investigations is

considered conduct indicative of consciousness of guilt.


PUBLIC SAFETY ISSUES:

Obstruction of justice fundamentally undermines public safety by interfering with the

legal system's ability to enforce laws designed to protect the public from crimes such as

homicide, assault, battery, and patient abuse and neglect. This enforcement is crucial

for deterring such offenses and maintaining trust in public institutions. In Keisha White's

case, the failure to uphold the law effectively places healthcare workers above the law,

suggesting that they are untouchable even when laws are broken . This is a prime

example of obstruction of justice being an issue of public safety.



Acts of obstruction can include:

•   Interfering with law enforcement's ability to investigate or make arrests;

•   Influencing judicial processes or tampering with witnesses, including expert

    witnesses like medical examiners;

•   Destroying or concealing evidence to prevent fair investigations and trials; and

•   Using deceit or corruption to prevent justice from being served.



Obstruction of justice in the context of healthcare goes beyond mere non-compliance

with healthcare regulations ; it enters the realm of criminal activity when it involves

deliberate actions that lead to patient harm or death . In the case of Keisha White, the

allegations suggest that White was murdered by her nurse, while ECU Health

subsequently, took actions taken to cover up this wrongdoing .

                                              58


    Case 4:24-cv-00051-M-RN         Document 57       Filed 08/05/24      Page 58 of 61
This kind of obstruction :

•   Prevents proper legal investigations and criminal proceedings against those

    responsible , effectively placing healthcare workers who commit severe malpractices

    above the law.

•   Destroys the integrity of healthcare services , as it sends a chilling message that

    patient safety means little, in particularly, compared to reputation and finances .

•   Indicates a severe breach of public trust, suggesting that patients entering

    healthcare facilities are at risk of abuse or neglect that could be deliberately

    concealed by those in authority.

The case of Keisha White exemplifies the worst fears of many who trust healthcare

providers with their lives-only to find that in some instances , the system designed to

protect them may shield those who do harm . It is crucial , therefore, that such cases are

thoroughly investigated and prosecuted to ensure that justice is served , not only for

Keish White, but for the safety and well-being of all patients .



The concealment of wrongful acts, especially to protect white personnel at the expense

of a black patient and her family, starkly contrasts with high-profile accountability cases,

such as the indictment of former President Donald Trump. The message th is sends-

that in some areas like Pitt County, North Carolina and the other twenty-eight counties

served by ECU Health-it is permissible for healthcare workers to fatally neglect and

abuse patients; a dire public safety threat.




                                               59


    Case 4:24-cv-00051-M-RN         Document 57       Filed 08/05/24     Page 59 of 61
Covering up a hospital death to evade public scrutiny and financial loss , and hindering a

medical examiner from performing her duties, are acts that endanger public safety.

Such conduct, if proven , suggests that healthcare facilities could manipulate outcomes

with impunity, leaving families without closure and the truth obscured , such as it is with

this Plaintiff. This necessitates a call for transparent investigations and accountability to

prevent such injustices from being repeated.



                                     XI. CONCLUSION



For the reasons outlined herein , th is case presents substantial legal and factual

questions that merit further examination . Accordingly, it is respectfully requested that

this case not be dismissed , but allowed to proceed to ensure that justice is served.

Respectfully submitted ,



August5 , 2024
/s/ Cynthia B. Avens
Cynthia B. Avens
303 Riverside Trail
Roanoke Rapids, NC 27870
avens1@charter.net
252-203-7107
Pro Se Litigant




                                              60


   Case 4:24-cv-00051-M-RN          Document 57        Filed 08/05/24     Page 60 of 61
CERTIFICATE OF SERVICE

I hereby certify that on August 5, 2024 , the Plaintiff's Amended Pleading was delivered

in person to the Clerk of the U.S. District Court. Upon docketing , the CM/ECF system

will send electronic notification of such filing to the defendants' counsel.

Respectfully submitted ,



/s/ Cynthia B. Avens

Cynthia B. Avens
303 Riverside Trai l
Roanoke Rapids , NC 27870
Avens 1@cha rter.net
252-203-7107
Pro Se Litigant

Chris D. Agosto Carreiro                           Daniel D. Mcclurg
Special Deputy Attorney General                    K&L Gates LLP
N.C. Department of Justice                         300 South Tryon Street, Suite 1000
P.O . Box 629                                      Charlotte, North Carolina 28202
Raleigh , NC 27602                                 daniel.mcclurg@klgates.com
ccarreiro@ncdoj.gov                                (704) 331-7400
Telephone: (919) 716-6874                          (704) 353-3114
Facsimile: (919) 716-6755                          NC Bar #53768
State Bar No. 45356                                Counsel for Pitt County Memorial
Counsel for DA Faris Dixon                         Hospital, Inc.

Jeremy D. Lindsley                                 Terrence M. McKelvey
Assistant Attorney General                         K&L Gates LLP
N.C. Department of Justice                         501 Commerce Street, Suite 1500
P.O. Box 629                                       Nashville, Tennessee 37203
Raleigh , NC 27602                                 terrence .mckelvey@klgates.com
jlindsley@ncdoj .gov                               (615) 780-6700
Tel : 919-716-6920                                 (615) 780-6799
Fax: 919-716-6764                                  NC Bar #47940
NC State Bar No. 26235                             Counsel for Pitt County Memorial
Counsel for Dr. Karen Kelly                        Hospital, Inc.




                                              61


   Case 4:24-cv-00051-M-RN           Document 57       Filed 08/05/24     Page 61 of 61
